Case 2:19-cv-12448 Document1 Filed 09/04/19 Page 1 of 18

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

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JOHNATHAN GIVENS AND * NUMBER:
JOVAN LAMBEY *
Plaintiffs %*
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VERSUS * SECTION:
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* JUDGE:
DILLARD UNIVERSITY *
MAGISTRATE:
Defendant %
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COMPLAINT FOR DAMAGES

 

REQUESTING PRELIMINARY INJUNCTION AND PERMANENT INJUCTION
NOW INTO COURT, through undersigned counsel, come Plaintiffs, Johnathan Givens
and Jovan Lambey, who file their Complaint against Defendant, Dillard University, seeking
damages, including but not limited to a Preliminary Injunction and Permanent Injunction, as well
as all relief available under law and equity.
I. Parties
1. Plaintiff, Johnathan Givens, is an adult, native of Los Angeles, California, and resident of
New Orleans, Louisiana, for the past three years as a student at Dillard University. He is a
senior, computer science major attending school on a financial aid grant. Prior to
banishment based on this allegation, he was Mr. Senior, director of Men of Dillard
Program, Dillard Activity Board, National Society of Black Engineers, mentor to

incoming freshman for two years, and a national fraternity.
2.

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Plaintiff, Jovan Lambey, is an adult, native of Los Angeles, California, and resident of
New Orleans, Louisiana, for the past three years as a student at Dillard University as a
physics major. He is a senior on a track scholarship. He is member of a national
fraternity, Louisiana Grant Program for STEM majors, Sigma Pi Sigma, and physics
honor society.

Defendant, Dillard University, is a private, non-profit educational institution operating in

New Orleans since 1869.

II. Jurisdiction
This court has subject matter jurisdiction over this matter pursuant to Title IX of the
Education Amendments of 1972, 20 United States Code section 1681 et seq. (referenced
herein as Title IX),
This court has supplemental jurisdiction of Louisiana state law claims pursuant to
Louisiana Civil Code article 2315 and general contracts law.
This Court has personal jurisdiction over Defendant in this case because the Defendant is
operating in Louisiana

III. Venue

Venue is proper in this Court pursuant to 28 U.S.C. (S) 1332 because the acts complained
of herein took place in New Orleans, Louisiana.

IV. Facts
Under Title IX, an institution that receives federal funds must ensure that no student

suffers a deprivation of his or her access to educational opportunities based on sex.
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The Department of Education engages in rulemaking on the topic of schools’ Title [x
responsibilities concerning complaints of sexual misconduct, sexual harassment and
sexual violence.

Title IX institutions must designate at least one employee as its Title D< Coordinator.

On April 20, 2019, Plaintiffs were involved in a consensual encounter with a female
student who will be identified as the Accuser.

The Accuser subsequently made a rape charge against Plaintiffs.

Plaintiffs were subsequently arrested by the New Orleans Police Department on April 25,
2019, In the interview with the investigating detectives, Plaintiffs fully debriefed when
giving their side of the incident.

Then on May 13, 2019, Plaintiffs sought a meeting with Dillard University officials after

. being told they were suspended from campus. (Exhibit 1). |

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To date, no Dillard official has granted their request for an appeal of the suspension.
Later on August 26, 2019, Plaintiffs provided Dillard with their written statements.

In the ongoing criminal matter, Plaintiffs met their bond requirements when attending
multiple court appearances in Orleans Parish Magistrate Court. After the 120-day
requirement and to date, the Orleans Parish District Attorney has not charged Plaintiffs
with a crime. (Exhibit 2).

In the interim, Dillard has not conducted a Title IX investigation. Dillard was waiting
until the criminal matter was resolved to start the process.

The Title IX statutory scheme gives universities wide latitude in investigating cases.

Among remedies to universities, to assist both the accuser and accused, are interim
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measures, i.c., modifications of class schedules, extensions of class schedules, stay-away
orders, etc. See 2001 Guidance at (VID(A).

The accuser has not enrolled at Dillard for fall 2019. She is pregnant and is close to
delivery.

While Title IX does not set a timeframe for conducting prompt investigations, Dillard has
failed to conduct a fair, impartial investigation in a timely manner to provide adequate
resolution to Plaintiffs as described in 2001 Guidance at (IX); see also 34 C.F.R. sec.
668,46(k)(3)(i){A).

Dillard tacitly made a decision regarding Plaintiff's status when allowing them admission
for the fall 2019 semester.

On August 16, 2019, Dillard cleared Plaintiffs to return to classes on campus. (Exhibit 3).
In the clearance process, Dillard allowed Plaintiffs to choose a class schedule.

In the clearance process, Dillard allowed Plaintiffs to choose on-campus housing.

Dillard accepted Lambey’s track scholarship and loan as payment for fall 2019 semester.
Dillard accepted Givins’ grant and loan as payment for fall 2019 semester.

Plaintiffs have paid for classes and housing for the fall semester.

Dillard repudiated its previous decision when withdrawing both the housing and class
schedules granted to Plaintiffs.

Dillard recently told Plaintiffs they cannot come on campus.

Plaintiffs are suffering from irreparable harm.

Lambey’s track scholarship is now completed as his scholarship was applied to fall 2019

tuition. His four-year scholarship eligibility in over.
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33. Givins’ grant eligibility is now completed as he has used the funds for his fourth year of
tuition.

34. Plaintiffs are now stuck in New Orleans without housing as both planned to live in the
dormitory.

35. Neither has funds to provide adequate food because they planned to live in dormitory.

36. Plaintiffs have just received an email from Dillard advising them they will be dropped
from classes for non-attendance and potentially lose tuition even though they are not

allowed to come on campus. (Exhibit 4).

V. Causes of Action- Theories of Recovery
COUNT ONE-VIOLATION OF TITLE IX
37, Plaintiffs’ rights to fair and timely review of the charges was violated by Dillard’s

inaction based on the conduct described above.

COUNT TWO- NEGLIGENCE
38. Dillard’s conduct was negligent when clearing Plaintiffs for return to campus, then
turning around to reverse its decision.
VI. DAMAGES
39. Plaintiff respectfully requests that this Honorable Court set a hearing on a Preliminary
Injunction as soon as possible to address their Title IX rights because Plaintiffs are losing
valuable time in the studies as seniors at Dillard University. They seek attorney’s fees and

all relief available under law and equity.
Case 2:19-cv-12448 Document1 Filed 09/04/19 Page 6 of 18

Respectfully Submitted, ole
Mover

Marion D. Floyd (LSBA No. 2290%)|
1403 West Esplanade Ave., Suite Nu
Kenner, LA 70065

Phone: 504.467.3010

Fax: 888.651.8651

Attorney for Plaintiffs
Case 2:19-cv-12448 Document1 Filed 09/04/19 Page 7 of 18

VERIFICATION

STATE OF LOUISIANA
PARISH OF ORLEANS
BEFORE ME, the undersigned authority, personally came and appeared:
MARION D. FLOYD
who after being duly sworn, did depose and say that all allegations of fact contained in the
foregoing Complaint for Divorce are true and correct to the best of his information, knowledge
and belief, Furthermore, Affiant advised counsel for Dillard, Brendan Greene, Esquire, that he

was going to file the foregoing Complaint via email on Monday night and on the phone

Were ey

MARION D. FLOYD

yesterday.

SWORN TO AND SUBSCRIBED BEFORE ME THIS

 

 

NOTARY PUBLIC

 
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AFFIDAVIT

STATE OF LOUISIANA
PARISH OF ORLEANS
BEFORE ME, the undersigned authority, personally came and appeared:
JOVAN LAMBEY
who after being duly sworn, did depose and say that all allegations of fact contained in the
foregoing Complaint are true and correct to the best of his information, knowledge and belief.

JOVAN LAMBEY

SWORN TO AND SUBSCRIBED BEFORE ME THIS

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NOTARY PUBLIC

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Case 2:19-cv-12448 Document1 Filed 09/04/19 Page 9 of 18

VERIFICATION

STATE OF LOUISIANA
PARISH OF ORLEANS
BEFORE ME, the undersigned authority, personally came and appeared:
JOHNATHAN GIVINS
who after being duly sworn, did depose and say that all allegations of fact contained in the

foregoing Complaint are true and correct to the best of his information, knowledge and belief.

x

NT _—_

i JOHNATHAN GIVIN

SWORN TO AND SUBSCRIBED BEFORE ME THIS

At h DAY OF Pope ud.e. ano
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Ld

NOTARY PUBLIC

LSpt M62
Case 2:19-cv-12448 Document1 Filed 09/04/19 Page 10 of 18

 

NMARION D. FLOYD
Attorney at Law
1403 West Esplanade Ave. Phone: 804.467.3010
Suite A Fax: 504.467.3020
Kenner, LA 70065 Email: floydmar@ bellsouth.net
May 13, 2019

Via email: dsaylor@dillard.edu & U.S. Mail
Dillard University

ATTN: Dr. Danette Saylor
2601 Gentilly Blvd.

New Orleans, LA 70122

Re: Interim Suspension of Johnathan Given
and Jovan Lambey

Dear Dr. Saylor:
Please be advised that I represent the referenced students in the matter of the
interim suspension. My clients request a meeting with the Vice President for

Student Success to appeal the suspension. Please contact me as soon as possible to
discuss my clients’ request.

Sincerely yours,

Marion D. “Floyd

MDF/eme

ce: Johnathan Given and Jovan Lambey
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C Docket Master Cc

Marlin N. Gusman

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RAG: 579456 DOCKET MASTER Date: 09/04/2019
Time: 15:08:55
OALEANS PARISH MAGISTRATE COURT
DEFENDANT {S) = CHIS CHARGE(S}a

 

LAMBEY, JOVAN M Sz.
} RS 14 42.3 BOND: 20,005.00

SECOND DEGREE XABE

 

DATE PROCEERLEGS

af26/2019 NELSONCA *
FIRST APPEARANCE EZARING ZN MAGISTAATE COURT SECTION Mi
BOND SET FOR $20,C00.00
RESULS-COURT FIHOS PROBASLE CAUSE FOR 5/24/2019 aT 42:00 PH
SCEEDULED =PROGRESS REPORT ON 5/24/2019 AT 3200 BM, SECT M5
SCHEDULED «RULE TO SHOW CAUSE On 6/24/2019 AT 3:90 PH, SECT #3
MARION FLOYG PVa. ATIY FOR TEES DEFHEDART
DEFENDANT SERVED FOR NEARING
DEFENDANT ZSSVED AND SIGHED A SAQ {NON-DOHESTIC)

OS/24/2019 SCHIAFFIN®
PROCHESS HEPOXT IN MAGISTRATE COURT SECTION MS :
THIS WAS THE LAST PRE ACCEPTANCE APPEARANCE DATE
FOR THE DEFENDANT IN MAGISTRATE Count
THE CHARGES HAVE NOT YET SEEN ACCEPTED OR REFUSED
THE RULE DATE HAS BEEN FREVIOUSLY SET
THE DEPENDANT DOES WOT NEEO TO APPEAR IN THIS HACISTRATE COURT
AGATR UNLESS SUBPODRAED BY THIS MAGISTRATE COURT
HE DSEFENGNAT COMPLETED A CEANCE DF ADDRESS FORM

06/24/2019 ROBINSONE*
RULE £0 SHOW CAUSE IN MAGISTRATE COURT SECTION M2
SCKEEDULED -RULE TQ SHOW CAUSE GH 2/23/7019 AT 3:00 FM, SeCT HZ
STATE HOT BRESEHT To PROVIDE THE COURT WITH ANY DISPOSITION
INFORMATION ON TRIS HATTER.

08/23/2019 DESALVOE ¥
RULE TO SHOW CAUSE IN MAGISTRATE COURT SECTION M2
HERS 15 bO PISPOSTMIGN IN THIS MATTER.

END OF DOCKET MASTER

   

    
   

   

Disclaimer:
The Orleans Parish Sheriff's Office provides conyputer services to both the Orleans Parish Clerk of
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Orleans Parish Sherif!

Marlin N. Gusm

Providing Public Safety and Service to the P

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MAG#F: 579455 DOCKET MASTER Date: 09/04/20
Time: 15:10:
ORLEANS PARISH MAGISTRATE COURT
DEFENDANT (5S): CNTS CHARGE(S):

 

 

GIVINS, JOHNATHAN T
1 RS 14 42.1 BOND: 20,000.
SECOND DEGREE RAPE

 

DATE PROCEEDINGS

 

 

 

04/26/2019 NELSONCA
FIRST APPEARANCE HEARING IN MAGISTRATE COURT SECTION Mi
BOND SET FOR $20,000.00
RESULT-COURT FINDS PROBABLE CAUSE FOR 5/24/2019 AT 3:00 PM
SCHEDULED -PROGRESS REPORT ON 5/24/2019 AT 3:00 PM, SECT M5
SCHEDULED «RULE TO SHOW CAUSE ON 6/24/2019 AT 3:00 PM, SECT M3
MARION FLOYD PVE. ATTY FOR THIS DEFENDANT
DEFENDANT SERVED FOR HEARING
DEFENDANT WAS ISSUED AND SIGNED A SAO (NON-DOMESTIC)

05/24/2019 SCHIAFFTI:
PROGRESS REPORT IN MAGISTRATE COURT SECTION M5
THIS WAS THE LAST PRE ACCEPTANCE APPEARANCE DATE
FOR THE DEFENDANT IN MAGISTRATE COURT
THE CHARGES HAVE NOT YET BEEN ACCEPTED OR REFUSED
THE RULE DATE HAS BEEN PREVIOUSLY SET
THE DEPENDANT DOES NOT NEED TO APPEAR IN THIS MAGISTRATE COURT
AGAIN UNLESS SUBPOENAED BY THIS MAGISTRATE COURT
THE DEFENDNAT COMPLETED A CHANGE OF ADDRESS FORM

06/24/2019 ROBINSON.
RULE TO SHOW CAUSE IN MAGISTRATE COURT SECTION M2
SCHEDULED -RULE TO SHOW CAUSE ON 8/23/2019 AT 3:00 PM, SECT M2
STATE NOT PRESENT TO PROVIDE THE COURT WITH ANY DISPOSITION
INFORMATION ON THIS MATTER.

08/23/2019 DESALVOE
RULE TO SHOW CAUSE IN MAGISTRATE COURT SECTION M2
THERE I8 NO DISPOSITION TN THIS CASE.

END OF DOCKET MASTER

 

 

 

Disclaimer:

The Orleans Parish Sheriff's Office provides computer services to b
Criminal District Court and the Orleans Parish Criminal District Co
Office DOES NOT maintain or ensure the information provided is ¢
information can change quickly. Therefore, the information on this
status, next court date, or other information regarding a case. The ir

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Clearance Message

 

 

Fall_dte ||2019-08-08
Your Initials AJ
Fall Flag PAID
Fall_r_c RESIDENT
ID Number 347804
Firstname || Johnathan
Middle Name| Tayshun
lastname Givens
Job Time 13:41:13
Job Date 2019-08-08

Dear Johnathan ,

Congratulations, you have been awarded adequate financial aid, made a satisfactory payment arrangemer
remaining balance of $500 or less to cover the cost of your attendance for the semester. Check myDU for
| to-date information on your student account. Have a great semester!

i Bursar Office Staff

i Dillard University

Johnathan T. Givens

i Auxiliary Services AV Tech

2601 Gentilly Blvd

New Orleans, LA 70122

Johnathan T, Givens

Auxiliary Services AV Tech

2601 Gentilly Blvd

New Orleans, LA 70122

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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Ms. La' Toya Lewis
Pei Ares Coordinator for Residential Life & Judicial Programs
ak: Dillard University Office of Residential Life
P: (504) 816-4019, (504) 816-4734 (ORL Main Office)
Hilbrel Cairvty Fo Wevisgiilariedy Wrowndilardady

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Clifton Strengtha Individualization | Responsibility | Relator | Developer | Belief

Johnathan T. Givens
Auxiliary Services AV Tech
2601 Gentilly Blvd

New Orleans, LA 70122
Johnathan T. Givens
Auxiliary Services AV Tech
2601 Gentilly Blvd

New Orleans, LA 70122
Case 2:19-cv-12448 Document1 Filed 09/04/19 Page 15 of 18

Clearance Message

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Fall_dte 2019-07-31
Your Initials RC
Fall Flag PAID
Fall_r_c RESIDENT
iD Number 348579
Firstname Jovan
Middle Name M
lastname _ ||Roaches-Lambey
Job Time 14:31:23
Job Date 2019-07-31
Dear Jovan,

Congratulations, you have been awarded adequate financial aid, made a satisfactory payment
arrangement, or have a remaining balance of $500 or less to cover the cost of your attendance for the
semester. Check myDU for the most up-to-date information on your student account. Have a great
semester!

Bursar Office Staff

Dillard University
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Fwd: You've Been Assigned

Lambey, Jojo <jovan.lambey@dillard.edu>

Mon 9/2/2019 71:28 AM

Jo.Ods00461Cpe <Ods00461Cpc@OfficeDepotcom>;

nraeeeeees Forwarded message ---------
From: Lewis, La’ Toya <irlewis@dillard edu>
Date: Fri, Aug 16, 2019 at 8:39 AM

Subject: You've Been Assigned

To:

Beat!
er
Bas
BSL

| YOUR
Bessie
—

   

| Ms. La' Toya Lewis
Area. Coordinator for Residential Life & Judicial Programs

Dillard University Office of Residential Life

P: (504) 816-4019, {504} 816-4734 (ORL Main Office)
E: Irlewis@dillard.edia, W: www.dillard.edu

 

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Clifton Strengths Individualization | Responsibility | Relator | Developer | Belief
 

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nen eennen Forwarded message ---------

From: Robert Mitchell Jr. <rvmitchell@dillard.edu>
Date: Wed, Sep 4, 2019 at 4:58 PM

Subject: Fall 2019 No Show (DROPPED)

To:

Cc: Registrar <registrar@dillard.edu>

 

Good evening,

Please be advised that you have been reported as a “No Show” by your instructor in one
or more of your Fall 2019 classes because you have not been attending class. A student
reported as a "No Show" course(s) has been removed from their schedules and their
Financial Aid may be reduced or cancelled!!!

Please login into myDU and check your class schedule. If you believe this was an error
please report to the Office of Records and Registration located in Rosenwald 116 on or

before 4:00 pm, Friday, September 6". I strongly recommend that you adhere to the
aforementioned deadline. If you are unable to locate your instructor, I suggest that you
contact the Chairperson or Dean of that course.

Thank you!
 

 

 

 

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nea Forwarded message ---------

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Subject: Fall 2019 No Show (DROPPED)

To:

CC: Registrar <registrar@dillard.edu>

 

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Thank you!

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